                             UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA
                            Civil Action No. 1:25-cv-00549-TDS-LPA


 WILLIAM MARSHALL, individually and on
 behalf of all others similarly situated,
                                                             CLASS ACTION COMPLAINT
                            Plaintiff,
                                                             DEMAND FOR JURY TRIAL
                    -v-

 AHOLD DELHAIZE USA SERVICES, LLC
 and HANNAFORD BROS. CO., LLC,

                            Defendants.



       1.      Plaintiff William Marshall (“Plaintiff”) brings this Class Action Complaint

(“Complaint”) on behalf of Plaintiff and all others similarly situated against Defendant Ahold

Delhaize USA Services, LLC ( “Ahold”) and Hannaford Bros. Co., LLC (“Hannaford”) (together,

“Defendants”) for failure to properly secure and safeguard Plaintiff’s and Class members’

personally identifiable information (“PII”) and protected health information (“PHI”) stored within

Defendants’ information network and alleges as follows based upon information and belief, and

the investigation of counsel, except as to the allegations specifically pertaining to Plaintiff, which

are based on personal knowledge.

                                     NATURE OF THE CASE

       2.      Entities that handle sensitive PII owe a duty to the individuals to whom that data

relates. This duty arises because it is foreseeable that the exposure of PII to unauthorized persons—

especially hackers with nefarious intentions — will result in harm to the affected individuals,

including, but not limited to, the invasion of their private financial matters.




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       3.      The harm resulting from a breach of private data manifests in a number of ways,

including identity theft and financial fraud. The exposure of a person’s PII through a data breach

ensures that such person will be at a substantially increased and certainly impending risk of identity

theft crimes compared to the rest of the population, potentially for the rest of their lives. Mitigating

that risk—to the extent it is even possible to do so—requires individuals to devote significant time

and money to closely monitor their credit, financial accounts, health records, and email accounts,

and to take a number of additional prophylactic measures.

       4.      Defendants knowingly obtain sensitive employee PII and have a resulting duty to

securely maintain such information in confidence.

       5.      As discussed in more detail below, Defendants breached their duty to protect the

sensitive PII entrusted to them.

       6.      As such, Plaintiff brings this Class action on behalf of himself and other individuals

whose PII was accessed and exposed to unauthorized third parties during a data breach of the

Defendants’ system between November 5th and 6th of 2024, which was announced when

Defendants began providing notices on or about June 26, 2025 (“Data Breach”).

       7.      The Data Breach impacted over 2.24 million individuals, and involved

unauthorized access to internal business systems, including a file repository. This resulted in the

exposure of PII and PHI.

       8.      Ahold is a support services provider for several major grocery brands, including

Food Lion, Giant Food, The GIANT Company, Hannaford, and Stop & Shop.

       9.      The Data Breach occurred when an unauthorized third party gained access to files

from an internal file repository between November 5 and 6, 2024.




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       10.     The data exposed in the Data Breach included names, contact information, dates of

birth, government-issued identification numbers (such as Social Security numbers, passport

numbers, and driver’s license numbers), financial account information (such as bank account

number), health and medical information (such as workers’ compensation information and medical

information contained in employment records) and employment-related information, as

Defendants reported to the Attorneys General of Maine, California, and Montana.1

       11.     As a direct and proximate result of Defendants’ inadequate data security, and their

breach of their duty to handle PII and PHI with reasonable care, Plaintiff’s PII and PHI have been

accessed by hackers, potentially posted on the dark web, and exposed to an untold number of

unauthorized individuals.

       12.     Plaintiff is now at a significantly increased and certainly impending risk of fraud,

identity theft, misappropriation of health insurance benefits, intrusion of his health privacy, and

similar forms of criminal mischief, and such risk may last for the rest of his life. Consequently,

Plaintiff must devote substantially more time, money, and energy to protect himself, to the extent

possible, from these crimes.

       13.     Plaintiff, on behalf of himself and others similarly situated, brings claims for

negligence, negligence per se, breach of fiduciary duty, unjust enrichment, and declaratory

judgment, seeking actual and putative damages, with attorneys’ fees, costs, and expenses, and

appropriate injunctive and declaratory relief.




1 See https://oag.ca.gov/system/files/Sample_Individual_Notification.pdf (last accessed June 27,

2025); see also, https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-
a1252b4f8318/b17963fc-3806-430e-b28e-bac47eb73a8b.html (last accessed June 27, 2025); see
also https://dojmt.gov/wp-content/uploads/2025/06/Consumer-notification-letter-8.pdf (last
accessed June 27, 2025).
                                                 3


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         14.   To recover from Defendants for their sustained, ongoing, and future harms, Plaintiff

and Class members seek damages in an amount to be determined at trial, declaratory judgment,

and injunctive relief requiring Defendants to: 1) disclose, expeditiously, the full nature of the Data

Breach and the types of PII and PHI accessed, obtained, or exposed by the hackers; 2) implement

improved data security practices to reasonably guard against future breaches of PII and PHI

possessed by Defendants; and 3) provide, at Defendants’ own expense, all impacted victims with

lifetime identity theft protection services.

                                               PARTIES

         15.   Plaintiff William Marshall (“Marshall”) is an adult individual and, at all relevant

times herein, has been a resident and citizen of Maine residing in Cumberland County, where he

intends to remain. Shortly after June 26, 2025, Plaintiff received a Notice of Data Breach from

Defendant Ahold dated June 26, 2025 (“Notice”).2

         16.   Defendant Ahold Delhaize USA Services LLC (“Ahold”) is the services provider

for grocery stores in the United States owned by non-party Koninklijke Ahold Delhaize N.V. a/k/a

Royal Ahold Delhaize (“Ahold Delhaize”),3 an international retailing group based in the

Netherlands and primarily active in the United States and Europe.

         17.   Ahold is a Delaware limited liability company with its principal office located at

2110 Executive Drive Salisbury, North Carolina 28147.4



2 See Exhibit A hereto.
3See                                    https://www.claimdepot.com/data-breach/ahold-delhaize-
usa#:~:text=Ahold%20Delhaize%20USA%20Services%2C%20LLC,BI%2DLO%2C%20Inc.&t
ext=Bradlees%2C%20Inc.,Bruno's%20Supermarkets%2C%20Inc.&text=Mayfair%20Super%20
Markets%2C%20Inc.&text=Purity%20Supreme%2C%20Inc.&text=Ahold%20Delhaize%20US
A%2C%20Inc.&text=Ahold%20Information%20Services%2C%20Inc. (last accessed June 27,
2025).
4
       See     https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=
XwBqhxQiG9yOFgW7OIbbHLOrfNXjUv06u0ZZPtiREVs- (last accessed June 27, 2025).
                                                   4


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         18.   Ahold Delhaize’s strong local brands in the United States are well known and

popular with customers. Supermarkets are the core of the Ahold Delhaize’s business. In the United

States, Ahold Delhaize subsidiaries operate supermarkets under the Food Lion, Hannaford, Stop

& Shop, Giant, and Martin’s brands.5

         19.   Defendant Hannaford Bros. Co., LLC (“Hannaford”) is a Maine limited liability

company with its headquarters and principal place of business at 145 Pleasant Hill Road,

Scarborough, Maine 04074.

         20.   Upon information and belief, Defendant Ahold is owned by Ahold Delhaize, the

Netherlands parent company of Defendant Ahold.

         21.   Upon information and belief, Defendant Hannaford is a subsidiary of Ahold

Delhaize, the Netherlands parent company of Defendant Ahold.

                                JURISDICTION AND VENUE

         22.   This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(d). The amount in controversy in this class action exceeds $5,000,000, exclusive of interest

and costs, and there are numerous Class members who are citizens of states other than North

Carolina and/or the Netherlands, including Plaintiff, who is a citizen of the State of Maine, as,

upon information and belief, Defendant Ahold, a limited liability company whose citizenship is

determined by its members, is owned by Ahold Delhaize, the Netherlands parent company of

Defendant Ahold; and upon information and belief, Defendant Hannaford is a subsidiary Ahold

Delhaize, the Netherlands parent company of Defendant Ahold, and/or a subsidiary of Defendant

Ahold.




5
       See        https://www.sec.gov/Archives/edgar/data/869425/000119312517095046/d35
8563d20f.htm#tx358563_5 (last accessed June 27, 2025).
                                                5


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       23.     This Court has personal jurisdiction over Defendants as they have substantial

contacts with this District and transact business in this District.

       24.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendants are

deemed to reside in this District because they are subject to the Court’s personal jurisdiction with

respect to this action, a substantial part of the events giving rise to the claims herein occurred in

this District, and Defendants regularly conduct business in this District.

                                   FACTUAL BACKGROUND

A.     Defendants and the Services they Provide

       25.     Defendants receive and handle PII and PHI, which includes, inter alia, grocery

store employees’ full names, addresses, Social Security numbers, driver’s license or state ID

numbers, financial account and payment information, and claims and health information.

       26.     Plaintiff was an Ahold employee and entrusted his information to Defendants with

the reasonable expectation and mutual understanding that Defendants would comply with their

obligations to keep such information confidential and secure from unauthorized access.

       27.     By obtaining, collecting, and storing Plaintiff’s PII and PHI, Defendants assumed

legal and equitable duties and knew or should have known that Defendants were responsible for

protecting Plaintiff’s PII and PHI from unauthorized disclosure.

       28.     Upon information and belief, Defendants fund their data security measures entirely

from their general revenue, including payments made by or on behalf of Plaintiff and the Class

members to entities that retain Defendants.

B.     Defendants Knew the Risks of Storing Valuable PII and the Foreseeable Harm

       29.     At all relevant times, Defendants knew they were storing sensitive PII and PHI and

that, as a result, their systems would be an attractive target for cybercriminals.



                                                   6


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       30.     Defendants also knew that a breach of their systems, and exposure of the

information stored therein, would result in the increased risk of identity theft and fraud against the

individuals whose PII and PHI were compromised, as well as intrusion into their highly private

information.

       31.     Cyberattacks have become so notorious that the FBI and U.S. Secret Service have

issued a warning to potential targets, so they are aware of, and prepared for, a potential attack.

       32.     For example, in 2023, the number of data compromises in the United States stood

at 3,205 cases, affecting over 353 million individuals.6

       33.     The type and breadth of data compromised in the Data Breach makes the

information particularly valuable to thieves and leaves Defendants employees especially

vulnerable to identity theft, tax fraud, medical fraud, credit, and bank fraud, and more.

       34.     PII is a valuable property right7 and their value is measurable. American companies

are estimated to have spent over $19 billion on acquiring personal data of consumers in 2018.8 It

is so valuable to identity thieves that once PII has been disclosed, criminals often trade it on the

“cyber black-market,” or the “dark web,” for many years.

       35.     As a result of their real value and the recent large-scale data breaches, identity

thieves and cybercriminals have openly posted credit card numbers, Social Security numbers, PII,

and other sensitive information directly on various Internet websites, making the information

publicly available. This information from various breaches, including the information exposed in




6  See https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-united-states-by-
number-of-breaches-and-records-exposed/ (last accessed June 20, 2025).
7 See https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data (“The

value of [personal] information is well understood by marketers who try to collect as much data
about personal conducts and preferences as possible”) (last accessed June 20, 2025).
8
  See https://www.iab.com/news/2018-state-of-data-report/ (last accessed June 20, 2025).
                                                  7


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the Data Breach, can be aggregated, and becomes more valuable to thieves and more damaging to

victims.

       36.     According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches: “[I]n some cases, stolen data may be held for up to a year or more before

being used to commit identity theft. Further, once stolen data has been sold or posted on the [Dark]

Web, fraudulent use of that information may continue for years. As a result, studies that attempt to

measure the harm resulting from data breaches cannot necessarily rule out all future harm.”9

       37.     Even if stolen PII does not include financial or payment card account information,

which does not mean there has been no harm, or that the breach does not cause a substantial risk

of identity theft. Freshly stolen information can be used with success against victims in specifically

targeted efforts to commit identity theft known as social engineering or spear phishing. In these

forms of attack, the criminal uses the previously obtained PII about the individual, such as name,

address, email address, and affiliations, to gain trust and increase the likelihood that a victim will

be deceived into providing the criminal with additional information.

       38.     Based on the value of their employees’ PII and PHI to cybercriminals and

cybercriminals’ propensity to target businesses, Defendants certainly knew the foreseeable risk of

failing to implement adequate cybersecurity measures.

C.     Defendants Breached their Duty to Protect their Employee’s PII and PHI

       39.     On or about June 26, 2025, Defendants announced that they experienced a security

incident that, “[g]iven the nature of the file repository, the files that may have been affected

contained different types of personal information such as name, contact information (for example,



9 See United States Government Accountability Office, Report to Congressional Requesters,
Personal Information, June 2007: https://www.gao.gov/new.items/d07737.pdf (last accessed June
15, 2025).
                                                  8


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postal and email address and telephone number), date of birth, government-issued identification

numbers (for example, Social Security, passport and driver’s license numbers), financial account

information (for example, bank account number), health information (for example, workers’

compensation information and medical information contained in employment records), and

employment-related information [and that] [t]he types of impacted information vary by affected

individual.”10

       40.       Defendants disclosed on June 26, 2025 that “[u]pon detection last November, we

began taking steps to assess and contain the issue, including working with external cybersecurity

experts to investigate and secure the affected systems [and that] [w]e take this issue extremely

seriously and will continue to take actions to further protect our systems.”11

       41.       Like Plaintiff Marshall, other Class members received similar untimely notices of

the Data Breach.

       42.       The Data Breach occurred as a direct result of Defendants’ failure to implement and

follow basic security procedures to protect their customers’ and employees’ PII and PHI.

       43.       The injury from the Data Breach is worsened due to Defendants’ belated disclosure.

D.     FTC Guidelines Prohibit Defendants from Engaging in Unfair or Deceptive Acts or
       Practices

       44.       Defendants are prohibited by the Federal Trade Commission Act, 15 U.S.C. § 45

(“FTC Act”) from engaging in “unfair or deceptive acts or practices in or affecting commerce.”

The Federal Trade Commission (“FTC”) has concluded that a company’s failure to maintain

reasonable and appropriate data security for consumers’ sensitive personal information is an

“unfair practice” in violation of the FTC Act.


10     https://dojmt.gov/wp-content/uploads/2025/06/Consumer-notification-letter-8.pdf          (last
accessed June 27, 2025).
11
   Id.
                                                  9


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       45.     The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.

       46.     The FTC provided cybersecurity guidelines for businesses, advising that businesses

should protect personal customer information, properly dispose of personal information that is no

longer needed, encrypt information stored on networks, understand their network’s vulnerabilities,

and implement policies to correct any security problems.12

       47.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to private data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.13

       48.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the FTC Act. Orders resulting from these actions

further clarify the measures businesses must take to meet their data security obligations.

       49.     Defendants failed to properly implement basic data security practices.

       50.     Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to PII constitutes an unfair act or practice prohibited by Section 5 of

the FTC Act.



12  See https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-
business (last accessed June 20, 2025).
13
   Id.
                                                10


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          51.    Defendants were at all times fully aware of their obligations to protect customers’

PII and PHI. Defendants are also aware of the significant repercussions that would result from

their failure to do so.

E.        Cyberattacks and Data Breaches Cause Disruption and Put Consumers at an
          Increased Risk of Fraud and Identity Theft

          52.    Cyberattacks and data breaches at companies that store PII and PHI are especially

problematic because they can negatively impact on the overall daily lives of individuals affected

by the attack.

          53.    The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.”14

          54.    That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal personally identifiable

information is to monetize it. They do this by selling the spoils of their cyberattacks on the black

market to identity thieves who desire to extort and harass victims, and to take over victims’

identities in order to engage in illegal financial transactions under the victims’ names. Because a

person’s identity is akin to a puzzle, the more accurate pieces of data an identity thief obtains about

a person, the easier it is for the thief to take on the victim’s identity or otherwise harass or track

the victim. For example, armed with just a name and date of birth, a data thief can utilize a hacking

technique referred to as “social engineering” to obtain even more information about a victim’s

identity, such as a person’s login credentials or Social Security number. Social engineering is a

form of hacking whereby a data thief uses previously acquired information to manipulate




14
     See https://www.gao.gov/products/gao-07-737 (last accessed June 20, 2025).
                                                  11


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individuals into disclosing additional confidential or personal information through means such as

spam phone calls and text messages or phishing emails.

          55.    Theft of PII is serious. The FTC warns consumers that identity thieves use PII to

exhaust financial accounts, receive medical treatment, open new utility accounts, and incur charges

and credit in a person’s name.

          56.    The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (and consider an extended fraud alert that lasts for seven years if

someone steals their identity), reviewing their credit reports, contacting companies to remove

fraudulent charges from their accounts, placing freezes on their credit, and correcting their credit

reports.15

          57.    Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

Personal information is valuable to identity thieves, and if they can get access to it, they will use

it to among other things: open a new credit card or loan, change a billing address so the victim no

longer receives bills, open new utilities, obtain a mobile phone, open a bank account and write bad

checks, use a debit card number to withdraw funds, obtain a new driver’s license or ID, and/or use

the victim’s information in the event of arrest or court action.

          58.    Identity thieves can also use the victim’s name and Social Security number to obtain

government benefits; or file a fraudulent tax return using the victim’s information. In addition,

identity thieves may obtain a job using the victim’s Social Security number, and/or rent a house or

receive medical services in the victim’s name.



15
     See https://www.identitytheft.gov/Steps (last accessed June 20, 2025).
                                                  12


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        59.       Moreover, theft of PII is also gravely serious because PII is an extremely valuable

property right.

        60.       Drug manufacturers, medical device manufacturers, pharmacies, hospitals, and

other healthcare service providers often purchase PII on the black market for the purpose of target-

marketing their products and services to the physical maladies of data breach victims themselves.

        61.       Each year, identity theft causes tens of billions of dollars of losses to victims in the

United States. For example, with the PII stolen in the Data Breach, which includes Social Security

numbers, identity thieves can open financial accounts, commit medical fraud, apply for credit, file

fraudulent tax returns, commit crimes, create false driver’s licenses and other forms of

identification and sell them to other criminals or undocumented immigrants, steal government

benefits, give breach victims’ names to police during arrests, and many other harmful forms of

identity theft. These criminal activities have and will result in devastating financial and personal

losses to Plaintiff.

        62.       As discussed above, PII is such a valuable commodity to identity thieves, and once

the information has been compromised, criminals often trade the information on the “cyber black-

market” for years.

        63.       Social Security numbers are particularly sensitive pieces of personal information.

For instance, with a stolen Social Security number, which is only one subset of the PII

compromised in the Data Breach, someone can open financial accounts, get medical care, file

fraudulent tax returns, commit crimes, and steal benefits. Identity thieves can use an individual’s

Social Security number to apply for additional credit lines. Such fraud may be undetected until

debt collection calls commence months, or even years later. Stolen Social Security numbers also

make it possible for thieves to file fraudulent tax returns, file for unemployment benefits, or apply



                                                    13


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for a job using a false identity. Each of these fraudulent activities is difficult to detect. An individual

may not know that his or her Social Security number was used to file for unemployment benefits

until law enforcement notifies the individual’s employer of the suspected fraud. Fraudulent tax

returns are typically discovered only when an individual’s authentic tax return is rejected because

one was already filed on their behalf.

        64.     An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may not be

effective, as the credit bureaus and banks are able to link the new number very quickly to the old

number, so all of that old bad information is quickly inherited into the new Social Security number.

        65.     This was a financially motivated Data Breach, as the only reason the cybercriminals

go through the trouble of running a targeted cyberattack against companies like Defendants is to

get information that they can monetize by selling on the black market for use in the kinds of

criminal activity described herein. This data demands a much higher price on the black market.

        66.     Fraud and identity theft resulting from the Data Breach may go undetected until

debt collection calls commence months, or even years later. As with income tax returns, an

individual may not know that his or her Social Security number was used to file for unemployment

benefits until law enforcement notified the individual’s employer of the suspected fraud.

        67.     Cybercriminals can post stolen PII on the cyber black market for years following a

data breach, thereby making such information publicly available. Identity theft victims must spend

countless hours and large amounts of money repairing the impact to their credit as well as

protecting themselves in the future.

        68.     It is within this context that Plaintiff must now live with the knowledge that

Plaintiff’s PII is forever in cyberspace and was taken by people willing to use the information for



                                                   14


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any number of improper purposes and scams, including making the information available for sale

on the black market.

        69.     Plaintiff must now take the time and effort (and spend the money) to mitigate the

actual and potential impact of the Data Breach on Plaintiff’s everyday life, including purchasing

identity theft and credit monitoring services every year for the rest of Plaintiff’s life, placing

“freezes” and “alerts” with credit reporting agencies, contacting his financial institutions and

healthcare providers, closing or modifying financial accounts, and closely reviewing and

monitoring bank accounts, credit reports, and health insurance account information for

unauthorized activity for years to come.

        70.     Moreover, Plaintiff and Class members have an interest in ensuring that their PII,

which remains in the possession of Defendants, are protected from further public disclosure by the

implementation of better employee training and industry standard and statutorily compliant

security measures and safeguards. Defendants have shown themselves to be wholly incapable of

protecting Plaintiff’s PII.

        71.     Plaintiff and Class members also have an interest in ensuring that their personal

information that was provided to Defendants is removed from Defendants’ unencrypted files.

F.      Plaintiff and the Class Suffered Damages

Facts Relevant to Plaintiff

        72.     Plaintiff is a former employee of Defendants.

        73.     Plaintiff was employed at a Hannaford grocery store in Maine from June of 2020

through May of 2023.

        74.     As a condition of his employment with Defendants, he was required to provide his

PHI and PII to Defendants.



                                                15


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          75.    Defendants, upon information and belief, retained Plaintiff’s PII and PHI in their

systems at the time of the Data Breach.

          76.    Shortly after June 26, 2025, Plaintiff received a Notice of Data Breach from

Defendant Ahold dated June 26, 2025.16

          77.    As alleged (see ¶ 39, supra), the Notice at-large to the Attorneys General and the

Notice specifically received by Plaintiff Marshall state that, “[g]iven the nature of the file

repository [maintained by Defendants related to Plaintiff and Class members], the files that may

have been affected contained different types of personal information such as name, contact

information (for example, postal and email address and telephone number), date of birth,

government-issued identification numbers (for example, Social Security, passport and driver's

license numbers), financial account information (for example, bank account number), health

information (for example, workers' compensation information and medical information contained

in employment records), and employment-related information [and that] [t]he types of impacted

information vary by affected individual.”17

          78.    Defendants received Plaintiff’s PII and PHI in connection with and as a condition

of his employment. In requesting and maintaining Plaintiff’s PII and PHI for business purposes,

Defendants expressly and impliedly promised, and undertook a duty, to act reasonably in their

handling of Plaintiff’s and Class members’ PII and PHI. Defendants did not, however, take proper

care of Plaintiff’s and Class members’ PII and PHI, leading to their exposure to and exfiltration by

cybercriminals as a direct result of Defendants’ inadequate security measures.




16
     See Exhibit 1 hereto.
17
     Id.
                                                 16


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        79.       Upon receiving Notice, Plaintiff spent time reviewing his credit reports, reviewing

various credit alerts received by text and email, checking his financial information, and dealing

with increased spam text messages and emails.

        80.       Plaintiff has suffered imminent and impending injury arising from the present and

ongoing risk of fraud, identity theft, and misuse resulting from his PII and PHI being placed in the

hands of unauthorized third parties and possibly criminals. Plaintiff suffered lost time, annoyance,

interference, and inconvenience because of the Data Breach.

        81.       Plaintiff has experienced anxiety and increased concerns arising from the fact that

his PII has been or will be misused and from the loss of his privacy.

        82.       The risk is not hypothetical, as cybercriminals intentionally stole the data, misused

it, threatened to publish, or have published it on the dark web, and the sensitive information,

including names and Social Security numbers, which is the type of PII used to perpetrate identity

theft or fraud.

        83.       Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of his PII and PHI—forms of intangible property that he entrusted to Defendants, which

was compromised in and because of the Data Breach.

        84.       Future identity theft monitoring is reasonable and necessary, and such services will

include future costs and expenses.

        85.       Plaintiff has a continuing interest in ensuring that his PII and PHI, which remain in

Defendants’ possession, are protected and safeguarded from future breaches.

Plaintiff’s And Class Members’ Damages

        86.       For the reasons mentioned above, Defendants’ conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class members significant injuries and harm in several ways.



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Plaintiff and Class members must immediately devote time, energy, and money to: 1) closely

monitor their medical statements, bills, records, and credit and financial accounts; 2) change login

and password information on any sensitive account even more frequently than they already do; 3)

more carefully screen and scrutinize phone calls, emails, and other communications to ensure that

they are not being targeted in a social engineering or spear phishing attack; and 4) search for

suitable identity theft protection and credit monitoring services, and pay to procure them. Plaintiff

and Class members have taken or will be forced to take these measures in order to mitigate their

potential damages as a result of the Data Breach.

         87.    Once PII is exposed, there is little that can be done to ensure that the exposed

information has been fully recovered or obtained against future misuse. For this reason, Plaintiff

and Class members will need to maintain these heightened measures for years, and possibly their

entire lives as a result of Defendants’ conduct.

         88.    As a result of Defendants’ failures, Plaintiff and Class members are also at

substantial and certainly impending increased risk of suffering identity theft and fraud or misuse

of their PII.

         89.    Plaintiff is also at a continued risk because Plaintiff’s information remains in

Defendants’ computer systems, which have already been shown to be susceptible to compromise

and attack and are subject to further attacks so long as Defendants fail to undertake the necessary

and appropriate security and training measures to protect their employees’ and former employees’

PII.

         90.    In addition, Plaintiff and Class members have suffered emotional distress as a result

of the Data Breach, the increased risk of identity theft and financial fraud, and the unauthorized

exposure of their private medical information to strangers.



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                                    CLASS ALLEGATIONS

       91.     Plaintiff brings all counts, as set forth below, individually and as a Class action,

pursuant to Fed. R. Civ. P. 23, on behalf of a Class defined as: All individuals within the United

States of America whose PII, PHI, and/or financial information was exposed to unauthorized

third-parties as a result of the Data Breach experienced by Defendants (“Class”).

       92.     Excluded from the Class are Defendants, their subsidiaries and affiliates, officers

and directors, any entity in which Defendants have a controlling interest, the legal representative,

heirs, successors, or assigns of any such excluded party, the judicial officer(s) to whom this action

is assigned, and the members of their immediate families.

       93.     This proposed Class definition is based on the information available to Plaintiff at

this time. Plaintiff may modify the Class definition in an amended pleading or when he moves for

Class certification, as necessary to account for any newly learned or changed facts as the situation

develops and discovery gets underway.

       94.     Numerosity – Fed. R. Civ. P. 23(a)(1): Plaintiff is informed and believes, and

thereon alleges, that there are at minimum, over a thousand members of the Class described above.

The exact size of the Class and the identities of the individual members are identifiable through

Defendants’ records, including but not limited to the files implicated in the Data Breach.

       95.     Commonality – Fed. R. Civ. P. 23(a)(2): This action involves questions of law and

fact common to the Class. Such common questions include, but are not limited to:

                   a. Whether Defendants have a duty to protect Plaintiff’s and Class members’

                       PII;

                   b. Whether Defendants were negligent in collecting and storing Plaintiff’s and

                       Class members’ PII, and breached their duties thereby;



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                   c. Whether Defendants breached their fiduciary duty to Plaintiff and the Class;

                   d. Whether Defendants breached their duty of confidence to Plaintiff and the

                       Class;

                   e. Whether Defendants violated their own Privacy Practices;

                   f. Whether Defendants were unjustly enriched;

                   g. Whether Plaintiff and Class members are entitled to damages as a result of

                       Defendants’ wrongful conduct; and

                   h. Whether Plaintiff and Class members are entitled to restitution as a result of

                       Defendants’ wrongful conduct.

       96.     Typicality – Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of the claims of

the members of the Class. The claims of the Plaintiff and members of the Class are based on the

same legal theories and arise from the same unlawful and willful conduct. Plaintiff and members

of the Class all had information stored in Defendants’ system(s), each having their PII and/or PHI

exposed and/or accessed by an unauthorized third party.

       97.     Adequacy of Representation – Fed. R. Civ. P. 23(a)(3): Plaintiff is an adequate

representative of the Class because his interests do not conflict with the interests of the other Class

members Plaintiff seeks to represent; Plaintiff has retained counsel competent and experienced in

complex Class action litigation; Plaintiff intends to prosecute this action vigorously; and Plaintiff’s

counsel has adequate financial means to vigorously pursue this action and ensure the interests of

the Class will not be harmed. Furthermore, the interests of the Class members will be fairly and

adequately protected and represented by Plaintiff and Plaintiff’s counsel.




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       98.     Injunctive Relief – Fed. R. Civ. P. 23(b)(2): Defendants have acted and/or refused

to act on grounds that apply generally to the Class therefore making injunctive and/or declarative

relief appropriate with respect to the Class under 23(b)(2).

       99.     Superiority – Fed. R. Civ. P. 23(b)(3): A Class action is superior to other available

methods for the fair and efficient adjudication of the controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal litigation. Absent

a Class action, most Class members would likely find that the cost of litigating their individual

claims is prohibitively high and would therefore have no effective remedy. The prosecution of

separate actions by individual Class members would create a risk of inconsistent or varying

adjudications with respect to individual Class members, which would establish incompatible

standards of conduct for Defendants. In contrast, the conduct of this action as a Class action

presents far fewer management difficulties, conserves judicial resources and the parties’ resources,

and protects the rights of each Class member.

       100.    Defendants have acted on grounds that apply generally to the Class as a whole, so

that Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

       101.    Likewise, particular issues are appropriate for certification because such claims

present only particular, common issues, the resolution of which would advance the disposition of

this matter and the parties’ interests therein. Such particular issues include, but are not limited to:

                    a. Whether Defendants failed to timely and adequately notify the public of the

                       Data Breach;

                    b. Whether Defendants owed a legal duty to Plaintiff and the Class to exercise

                       due care in collecting, storing, and safeguarding their PII;



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                    c. Whether Defendants’ security measures to protect their data systems were

                        reasonable in light of best practices recommended by data security experts;

                    d. Whether Defendants’ failure to institute adequate protective security

                        measures amounted to negligence;

                    e. Whether Defendants failed to take commercially reasonable steps to

                        safeguard employees’ PII; and

                    f. Whether adherence to FTC data security recommendations, and measures

                        recommended by data security experts would have reasonably prevented the

                        Data Breach.

          102.   Finally, all members of the proposed Class are readily ascertainable. Defendants

have access to Class members’ names and addresses affected by the Data Breach.

                                    FIRST CAUSE OF ACTION
                                         NEGLIGENCE

          103.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          104.   Plaintiff brings this claim individually and on behalf of the Class.

          105.   Defendants owed a duty to Plaintiff and Class members to exercise reasonable care

in safeguarding and protecting their PII and PHI in their possession, custody, and control.

          106.   Defendants’ duty to use reasonable care arose from several sources, including but

not limited to those described below.

          107.   Defendants have a common law duty to prevent foreseeable harm to others. This

duty existed because Plaintiff and Class members were the foreseeable and probable victims of

any inadequate security practices on the part of the Defendants. By collecting and storing valuable




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PII that is routinely targeted by criminals for unauthorized access, Defendants were obligated to

act with reasonable care to protect against these foreseeable threats.

       108.    Defendants breached the duties owed to Plaintiff and Class members and thus were

negligent. As a result of a successful attack directed towards Defendants that compromised

Plaintiff’s and Class members’ PII, Defendants breached their duties through the following errors

and omissions that allowed the Data Breach to occur:

                   a. mismanaging their system and failing to identify reasonably foreseeable

                       internal and external risks to the security, confidentiality, and integrity of

                       customer information that resulted in the unauthorized access and

                       compromise of PII;

                   b. mishandling their data security by failing to assess the sufficiency of their

                       safeguards in place to control these risks;

                   c. failing to design and implement information safeguards to control these

                       risks;

                   d. failing to adequately test and monitor the effectiveness of the safeguards’

                       key controls, systems, and procedures;

                   e. failing to evaluate and adjust their information security program in light of

                       the circumstances alleged herein;

                   f. failing to detect the breach at the time it began or within a reasonable time

                       thereafter;

                   g. failing to follow their own privacy policies and practices published to their

                       customers; and




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                  h. failing to adequately train and supervise employees and third-party vendors

                      with access or credentials to systems and databases containing sensitive PII.

       109.    But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff

and Class members, their PII would not have been compromised.

       110.    As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

members have suffered injuries, including, but not limited to:

                  a. Theft of their PII and PHI;

                  b. Costs associated with the detection and prevention of identity theft and

                      unauthorized use of their PII and PHI;

                  c. Costs associated with purchasing credit monitoring and identity theft

                      protection services;

                  d. Lowered credit scores resulting from credit inquiries following fraudulent

                      activities;

                  e. Costs associated with time spent and the loss of productivity from taking

                      time to address and attempt to ameliorate, mitigate, and deal with the actual

                      and future consequences of the Data Breach – including finding fraudulent

                      charges, cancelling and reissuing cards, enrolling in credit monitoring and

                      identity theft protection services, freezing and unfreezing accounts, and

                      imposing withdrawal and purchase limits on compromised accounts;

                  f. The imminent and certainly impending injury flowing from the increased

                      risk of potential fraud and identity theft posed by their PII and PHI being

                      placed in the hands of criminals;




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                    g. Damages to and diminution in value of their PII and PHI entrusted, directly

                        or indirectly, to Defendants with the mutual understanding that Defendants

                        would safeguard Plaintiff’s and Class members’ data against theft and not

                        allow access and misuse of their data by others;

                    h. Continued risk of exposure to hackers and thieves of their PII and PHI,

                        which remains in Defendants’ possession and is subject to further breaches

                        so long as Defendants fail to undertake appropriate and adequate measures

                        to protect Plaintiff’s and Class members’ data; and

                    i. Emotional distress from the unauthorized disclosure of PII and PHI to

                        strangers who likely have nefarious intentions and now have prime

                        opportunities to commit identity theft, fraud, and other types of attacks on

                        Plaintiff and Class members.

          111.   As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.

                                   SECOND CAUSE OF ACTION
                                     NEGLIGENCE PER SE

          112.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          113.   Plaintiff brings this claim individually and on behalf of the Class.

          114.   Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce”

including, as interpreted and enforced by the FTC, the unfair act or practice by entities such as

Defendants for failing to use reasonable measures to protect PII. Various FTC publications and

orders also form the basis of Defendants’ duty.

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          115.   Defendants violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with the industry standards. Defendants’ conduct was particularly

unreasonable given the nature and amount of /PII they obtained and stored and the foreseeable

consequences of a data breach involving PII of their customers.

          116.   Plaintiff and members of the Class are consumers within the Class of persons

Section 5 of the FTC Act was intended to protect.

          117.   Defendants’ violation of Section 5 of the FTC Act constitutes negligence per se.

          118.   The harm that has occurred as a result of Defendants’ conduct is the type of harm

that the FTC Act and Part 2 was intended to guard against.

          119.   As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

members have been injured as described herein, and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial.

                                  THIRD CAUSE OF ACTION
                                BREACH OF FIDUCIARY DUTY

          120.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          121.   Plaintiff brings this claim individually and on behalf of the Class.

          122.   Plaintiff and Class members have an interest, both equitable and legal, in the PII

and PHI about them that was conveyed to, collected by, and maintained by Defendants and that

was ultimately accessed or compromised in the Data Breach.

          123.   As a recipient of its employees’ PII and PHI, Defendants have a fiduciary

relationship to Plaintiff and the Class members.




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        124.    Because of that fiduciary relationship, Defendants were provided with and stored

private and valuable PII and PHI related to Plaintiff and the Class. Plaintiff and the Class were

entitled to expect their information would remain confidential while in Defendants’ possession.

        125.    Defendants owed a fiduciary duty under common law to Plaintiff and Class

members to exercise the utmost care in obtaining, retaining, securing, safeguarding, deleting, and

protecting their PII in Defendants’ possession from being compromised, lost, stolen, accessed, and

misused by unauthorized persons.

        126.    As a result of the parties’ fiduciary relationship, Defendants had an obligation to

maintain the confidentiality of the information within Plaintiff’s and the Class members’ records.

        127.    Defendants had possession and knowledge of confidential PII and PHI of Plaintiff

and Class members, information not generally known.

        128.    Plaintiff and Class members did not consent to nor authorize Defendants to release

or disclose their PII and PHI to unknown criminal actors.

        129.    Defendants breached their fiduciary duties owed to Plaintiff and Class members by,

among other things: mismanaging their system and failing to identify reasonably foreseeable

internal and external risks to the security, confidentiality, and integrity of customer information

that resulted in the unauthorized access and compromise of PII and PHI; mishandling their data

security by failing to assess the sufficiency of their safeguards in place to control these risks; failing

to design and implement information safeguards to control these risks; failing to adequately test

and monitor the effectiveness of the safeguards’ key controls, systems, and procedures; failing to

evaluate and adjust their information security program in light of the circumstances alleged herein;

failing to detect the breach at the time it began or within a reasonable time thereafter; failing to

follow their own privacy policies and practices published to their customers and employees; and



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failing to adequately train and supervise employees and third-party vendors with access or

credentials to systems and databases containing sensitive PII and PHI.

       130.   But for Defendants’ wrongful breach of their fiduciary duties owed to Plaintiff and

Class members, their PII would not have been compromised.

       131.   As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

members have suffered injuries, including:

                  a. Theft of their PII and PHI;

                  b. Costs associated with the detection and prevention of identity theft and

                      unauthorized use of their PII and PHI;

                  c. Costs associated with purchasing credit monitoring and identity theft

                      protection services;

                  d. Lowered credit scores resulting from credit inquiries following fraudulent

                      activities;

                  e. Costs associated with time spent and the loss of productivity from taking

                      time to address and attempt to ameliorate, mitigate, and deal with the actual

                      and future consequences of the Data Breach – including finding fraudulent

                      charges, cancelling and reissuing cards, enrolling in credit monitoring and

                      identity theft protection services, freezing and unfreezing accounts, and

                      imposing withdrawal and purchase limits on compromised accounts;

                  f. The imminent and certainly impending injury flowing from the increased

                      risk of potential fraud and identity theft posed by their PII being placed in

                      the hands of criminals;




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                    g. Damages to and diminution in value of their PII entrusted, directly or

                        indirectly, to with the mutual understanding that Defendants would

                        safeguard Plaintiff’s and Class members’ data against theft and not allow

                        access and misuse of their data by others;

                    h. Continued risk of exposure to hackers and thieves of their PII and PHI,

                        which remains in Defendants’ possession and is subject to further breaches

                        so long as Defendants fail to undertake appropriate and adequate measures

                        to protect Plaintiff’s and Class members’ data; and

                    i. Emotional distress from the unauthorized disclosure of PII and PHI to

                        strangers who likely have nefarious intentions and now have prime

                        opportunities to commit identity theft, fraud, and other types of attacks on

                        Plaintiff and Class members.

          132.   As a direct and proximate result of Defendants’ breach of their fiduciary duties,

Plaintiff and Class members are entitled to damages, including compensatory, punitive, and/or

nominal damages, in an amount to be proven at trial.

                                  FOURTH CAUSE OF ACTION
                                    UNJUST ENRICHMENT

          133.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          134.   Plaintiff brings this claim individually and on behalf of the Class.

          135.   Upon information and belief, Defendants fund their data security measures entirely

from their general revenue, including payments made by or on behalf of Plaintiff and the Class

members.




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        136.    As such, a portion of the payments made by or on behalf of Plaintiff sand the Class

members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendants.

        137.    Plaintiff and Class members conferred a benefit on Defendants by their

employment. In exchange, Plaintiff and Class members should receive from Defendants the

consideration of adequate protection in the subject of the transaction of their employment and have

their PII/PHI protected with adequate data security.

        138.    Defendants knew that Plaintiff and Class members conferred a benefit which

Defendants accepted. Defendants profited from these transactions and used the PII of Plaintiff and

Class members for business purposes.

        139.    In particular, Defendants enriched themselves by saving the costs it reasonably

should have expended on data security measures to secure Plaintiff’s and Class members’ PII.

Instead of providing a reasonable level of security that would have prevented the Data Breach,

Defendants instead calculated to increase their own profits at the expense of Plaintiff and Class

members by utilizing cheaper, ineffective security measures. Plaintiff and Class members, on the

other hand, suffered as a direct and proximate result of Defendants’ decision to prioritize their own

profits over the requisite security.

        140.    Under the principles of equity and good conscience, Defendants should not be

permitted to retain the money belonging to Plaintiff and Class members, because Defendants failed

to implement appropriate data management and security measures that are mandated by their

common law and statutory duties.

        141.    Defendants failed to secure Plaintiff and Class members’ PII and, therefore, did not

provide full consideration for the benefit Plaintiff and Class members provided.



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       142.    Defendants acquired the PII through inequitable means in that it failed to disclose

the inadequate security practices previously alleged.

       143.    If Plaintiff and Class members knew that Defendants had not reasonably secured

their PII, they would not have agreed to have their information provided to Defendants.

       144.    Plaintiff and Class members have no adequate remedy at law.

       145.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

members have suffered injuries, including, but not limited to:

                   a. Theft of their PII and PHI;

                   b. Costs associated with purchasing credit monitoring and identity theft

                      protection services;

                   c. Costs associated with the detection and prevention of identity theft and

                      unauthorized use of their PII and PHI;

                   d. Lowered credit scores resulting from credit inquiries following fraudulent

                      activities;

                   e. Costs associated with time spent and the loss of productivity from taking

                      time to address and attempt to ameliorate, mitigate, and deal with the actual

                      and future consequences of the Data Breach – including finding fraudulent

                      charges, cancelling and reissuing cards, enrolling in credit monitoring and

                      identity theft protection services, freezing and unfreezing accounts, and

                      imposing withdrawal and purchase limits on compromised accounts;

                   f. The imminent and certainly impending injury flowing from the increased

                      risk of potential fraud and identity theft posed by their PII being placed in

                      the hands of criminals;



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                    g. Damages to and diminution in value of their PII entrusted, directly or

                        indirectly, to Defendants with the mutual understanding that Defendants

                        would safeguard Plaintiff’s and Class members’ data against theft and not

                        allow access and misuse of their data by others;

                    h. Continued risk of exposure to hackers and thieves of their PII, which

                        remains in Defendants’ possession and is subject to further breaches so long

                        as Defendants fail to undertake appropriate and adequate measures to

                        protect Plaintiff’s and Class members’ data; and

                    i. Emotional distress from the unauthorized disclosure of PII to strangers who

                        likely have nefarious intentions and now have prime opportunities to

                        commit identity theft, fraud, and other types of attacks on Plaintiff and Class

                        members.

          146.   As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

members have suffered and will continue to suffer other forms of injury and/or harm.

          147.   Defendants should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class members, proceeds that they unjustly received from

them in their employment with Defendants.

                                   FIFTH CAUSE OF ACTION
                                  DECLARATORY JUDGMENT

          148.   Plaintiff restates and realleges the preceding allegations above as if fully alleged

herein.

          149.   Plaintiff brings this claim individually and on behalf of the Class.

          150.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and granting


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further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal statutes described in this Complaint.

       151.    An actual controversy has arisen in the wake of the Data Breach regarding

Defendants’ present and prospective common law and other duties to reasonably safeguard

Plaintiff’s and Class members’ PII and PHI, and whether Defendants are currently maintaining

data security measures adequate to protect Plaintiff and Class members from future data breaches

that compromise their PII and PHI. Plaintiff and the Class remain at imminent risk that additional

compromises of their PII and PHI will occur in the future.

       152.    The Court should also issue prospective injunctive relief requiring Defendants to

employ adequate security practices consistent with law and industry standards to protect

consumers’ PII and PHI.

       153.    Defendants still possess Plaintiff’s and Class members’ PII and PHI.

       154.    Defendants have made no announcement that it has changed their data storage or

security practices relating to the storage of Plaintiff’s and Class members’ PII and PHI.

       155.    To Plaintiff’s knowledge, Defendants have made no announcement or notification

that it has remedied the vulnerabilities and negligent data security practices that led to the Data

Breach.

       156.    If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the event of another data breach of Defendants’ networks.

The risk of another such breach is real, immediate, and substantial.

       157.    The hardship to Plaintiff and Class members if an injunction does not issue exceeds

the hardship to Defendants if an injunction is issued. Among other things, if another data breach

occurs in Defendants’ systems, Plaintiff and Class members will likely continue to be subjected to



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a heightened, substantial, imminent risk of fraud, identify theft, and other harms described herein.

On the other hand, the cost to Defendants of complying with an injunction by employing

reasonable prospective data security measures is relatively minimal, and Defendants have a pre-

existing legal obligation to employ such measures.

       158.    Issuance of the requested injunction will not compromise the public interest. On the

contrary, such an injunction would benefit the public by preventing another data breach in

Defendants’ systems, thus eliminating the additional injuries that would result to Plaintiff and Class

members, along with other consumers whose PII and PHI would be further compromised.

       159.    Pursuant to their authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring that Defendants implement and maintain reasonable security measures,

including but not limited to the following:

                   a. Engaging third-party security auditors/penetration testers, as well as

                       internal security personnel, to conduct testing that includes simulated

                       attacks, penetration tests, and audits on Defendants’ systems on a periodic

                       basis, and ordering Defendants to promptly correct any problems or issues

                       detected by such third-party security auditors;

                   b. Engaging third-party security auditors and internal personnel to run

                       automated security monitoring;

                   c. Auditing, testing, and training their security personnel regarding any new

                       or modified procedures;

                   d. Purging, deleting, and destroying PII and PHI not necessary for their

                       provisions of services in a reasonably secure manner;

                   e. Conducting regular database scans and security checks; and



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                     f. Routinely and continually conducting internal training and education to

                        inform internal security personnel how to identify and contain a breach

                        when it occurs and what to do in response to a breach.


                                     DEMAND FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, demands

relief as follows:

            a) For an Order certifying this action as a Class action and appointing Plaintiff as a

                Class Representative and his counsel as Class Counsel;

            b) For equitable relief enjoining Defendants from engaging in the wrongful conduct

                complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

                Class members’ PII and PHI, and from refusing to issue prompt, complete and

                accurate disclosures to Plaintiff and Class members;

            c) For equitable relief compelling Defendants to utilize appropriate methods and

                policies with respect to consumer data collection, storage, and safety, and to

                disclose with specificity the type of Personal Information compromised during the

                Data Breach;

            d) For equitable relief requiring restitution and disgorgement of the revenues

                wrongfully retained as a result of Defendants’ wrongful conduct;

            e) Ordering Defendants to pay for not less than three years of credit monitoring

                services for Plaintiff and the Class;

            f) For an award of actual damages, compensatory damages, statutory damages, and

                statutory penalties, in an amount to be determined, as allowable by law;

            g) For an award of punitive damages, as allowable by law;

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          h) For an award of attorneys’ fees and costs, and any other expense, including expert

               witness fees;

          i) Pre- and post-judgment interest on any amounts awarded; and,

          j) Such other and further relief as this court may deem just and proper.


                                  JURY TRIAL DEMANDED

       A jury trial is demanded by Plaintiff on all claims so triable.

July 1, 2025

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